






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00294-CR






Justin Tiger Thomas, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT

NO. CR22,313, HONORABLE ED MAGRE, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



		This is an appeal pursuant to Anders v. California, 386 U.S. 738 (1967).  Appellant
Justin Tiger Thomas pleaded guilty to the offense of aggravated robbery.  See Tex. Penal Code
Ann.&nbsp;§ 29.03 (West 2011).  Pursuant to a plea agreement, Thomas was placed on deferred-adjudication community supervision for five years.  Subsequently, the State filed a motion to
proceed&nbsp;with adjudication, alleging that Thomas had violated several terms and conditions of his
community supervision.  Thomas pleaded true to some of the alleged violations and not true to
others.  Following a hearing, the district court found the allegations to be true, adjudicated Thomas
guilty of aggravated robbery, and sentenced him to 35 years' imprisonment.  This appeal followed.

		At the hearing on the motion to proceed with adjudication, the district court heard
testimony from several witnesses.  The evidence tended to show that on or about May 24, 2010,
Thomas and others had stolen tires from a motor vehicle.  The owner of the vehicle whose tires had
been stolen observed the theft in progress, watched from a distance as the thieves made their
getaway, and then reported the incident to the police.  According to the testimony presented, when
the police apprehended the suspect vehicle, Thomas was one of the passengers found inside the
vehicle, along with the stolen tires.  Additional evidence tended to show that on a separate occasion,
Thomas had fled from police officers as they were attempting to apprehend him for a traffic offense.
Other evidence tended to show that on yet another occasion, Thomas had admitted to his probation
officer that he had smoked marihuana.  Thomas pleaded true to the allegations that he had violated
his community supervision by evading arrest and smoking marihuana, but he denied being involved
in the theft.  Additionally, Thomas pleaded true to other violations of his community supervision,
including failing to pay court costs, restitution, and other administrative costs.

		Thomas's court-appointed attorney has filed a motion to withdraw supported by
a&nbsp;brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements
of Anders v. California by presenting a professional evaluation of the record demonstrating
why&nbsp;there are no arguable grounds to be advanced.  See 386 U.S. at 744-45; see also Penson v. Ohio,
488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Thomas was mailed a copy of counsel's
brief and advised of his right to examine the appellate record and to file a pro se brief.  No pro se
brief has been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.


		The judgment of conviction is affirmed.



						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Affirmed

Filed:   August 1, 2012

Do Not Publish


